, Case 2:05-cv-04182-SRD-JCW Document 1449 Filed 10/2 Nr ue, 1of2

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AO 440 (Rev. 10/93) Summons in a Civil Action

United States District i Sure

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EASTERN DISTRICT OF LOUISIANA reagan

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RICT OF LA

MAUREEN O’DWYER, ET AL. "Up

SUMMONS IN A CIVIL CASE
V. CASE NUMBER:

DEPARTMENT OF TRANSPORTATION
AND DEVELOPMENT, ET AL. 06-4389 “us” (3)

fe Kv (2)

TO: WASHINGTON GROUP INTERNATIONAL, INC.

YOU ARE HEREBY SUMMONED and reauired to serve upon PLAINTIFF'S ATTORNEY (name

and address)

Ashton R. O’Dwyer, Jr.
One Canal Place

365 Canal Street

Suite 2670

New Orleans, LA 70130

An answer to the Complaint and First Supplemental and Amending Complaint in a Class Action
Lawsuit, which is herewith served upon you, within twenty (20) days after service of this summons upon
you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.

LORETTA G. WHYTE OCuicpark tA AOS(o

CLERK DATE

(BY) Seo CLERK

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Case 2:05-cv-04182-SRD-JCW Document 1449 Filed 10/24/06 Page 2 of 2

AO 440 (Rev. 10/93) Suri... dns in a Civil Action

RETURN OF SERVICE

10/23 Jab

ORR

Service of the Summons and Complaint was made by me'

NAME OF SERVER (PRINT) AeHTONY O'DwVER

Check one box below to indicate appropriate method of service

CJ Served personally upon the defendant. Place where served:

Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and

discretion then residing therein.
Name of person with whom the summons and complaint were left:

[J Returned unexecuted:

Washington Group International, Inc.
Through its agent for service of process:
~—— Corporation Services Company

320 Somerulos Street

Baton Rouge, LA 70802-6129

~4 Other (specify):

FERGAL SERVICE

STATEMENT OF SERVICE FEES WWRKe, SCHU

LET, At

TRAVEL SERVICES

TOTAL

DECLARATION OF SERVER

Executed on

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Address of Sdrver_

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(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.

